Case 2:97-cr-20190-SH|\/| Document 48 Filed 04/25/05 Page 1 of 2 Page|D 17

 

]N THE UNITED STATES DISTRICT COURT l W
FOR THE WESTERN DISTRICT OF TENNESSEE ' t - f`-' 1 ” "!
WESTERN DIVISION
UNITED STATES OF AMERICA *
>l<
vs. * Case No. 2:97cr20190-Ma
bk
KENNETH MCMULLEN *

 

ORDER HOLDING DEFENDANT FOR FINAL REVOCATION HEARING

 

On April 22, 2005, Kenneth McMullen appeared before me on a charge of violation of the
terms and conditions of his conditional release in this matter. The defendant had previously been
advised of his rights under Fed.R.Crirn.P. 5 and 32.1(£1), and counsel was appointed

At this hearing, the Court, after hearing proof, concluded that probable cause Was established
that the defendant had Violated the terms and conditions of his conditional release.

Accordingly, defendant Kenneth McMullen is held to a final revocation hearing before
United States District Judge Samuel Hardy Mays, Jr. lt is presumed that the District Judge Will
set this matter for a revocation hearing pursuant to Fed.R.Crim.P. 32.l(b),(c), and will see that
appropriate notices are given

The defendant Was remanded to the custody of the United States Marshals.

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TU M_ PHAi\/[
UNITED sTATES MAGISTRATE JUDGE

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Honorable Samuel Mays
US DISTRICT COURT

